        Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 1 of 15




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

K. SCOTT STOKES,                      )
                                      )
      Plaintiff,                      )
                                      )       CIVIL ACTION
v.                                    )
                                      )       FILE No. _____________________
DREAMLAND ATLANTA REAL                )
ESTATE, LLC,                          )
                                      )
      Defendant.                      )

                                  COMPLAINT

      COMES NOW, K. SCOTT STOKES, by and through the undersigned

counsel, and files this, his Complaint against Defendant DREAMLAND

ATLANTA REAL ESTATE, LLC pursuant to the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines,

28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

                                          1
        Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 2 of 15




      2.     Venue is proper in the federal District Court for the Northern District

of Georgia, Atlanta Division.

                                      PARTIES

      3.     Plaintiff K. SCOTT STOKES (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Roswell,

Georgia (Fulton County).

      4.     Plaintiff is a quadriplegic and is disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant DREAMLAND ATLANTA REAL ESTATE, LLC

(hereinafter “Defendant”) is a Georgia limited liability company, and transacts

business in the state of Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: The Corporation Company (FL), 112 North Main Street,

Cumming, Georgia, 30040.

                           FACTUAL ALLEGATIONS

      9.     On or about March 8, 2021, Plaintiff was a customer at “Dreamland


                                           2
        Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 3 of 15




BBQ,” a business located at 10730 Alpharetta Highway, Roswell, Georgia 30076.

      10.      Defendant is the owner of the real property and improvements that are

the subject of this action, and upon which Dreamland BBQ is situated. (The

structures and improvements situated upon said real property shall be referenced

herein as the “Facility,” and said real property shall be referenced herein as the

“Property”).

      11.      Plaintiff lives approximately three (3) miles from the Facility and

Property.

      12.      Plaintiff’s access to the business(es) located at 10730 Alpharetta

Highway, Roswell, Georgia 30076 (Fulton County Property Appraiser’s parcel

number 12 208004850354) and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.      Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


                                           3
        Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 4 of 15




      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

                                           4
        Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 5 of 15




regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


                                          5
        Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 6 of 15




conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


                                           6
        Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 7 of 15




Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The total number of accessible parking spaces on the Property

              is inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (ii)    The westernmost accessible parking space on the Property is

              not located on the shortest accessible route to the accessible

              entrances of the Facility, in violation of section 208.3.1 of the

              2010 ADAAG standards.

      (iii)   The westernmost accessible parking space on the Property has a

              slope in excess of 1:48 (one to forty-eight), in violation of

              section 502.4 of the 2010 ADAAG standards.

      (iv)    The westernmost accessible parking space on the Property does

              not have an adjacent access aisle, in violation of section 502.3


                                           7
 Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 8 of 15




       of the 2010 ADAAG standards.

(v)    The accessible route leading from the westernmost accessible

       parking space on the Property to the most proximate accessible

       ramp requires disabled individuals to traverse significant

       vertical rises, broken pavement and potholes, in violation of

       section 403.2 of the 2010 ADAAG standards.

(vi)   Further, the above-described ramp is located before a standard

       parking space, and when a vehicle is parked in such parking

       space, the ramp is blocked, in violation of sections 403.5.1 and

       502.7 of the 2010 ADAAG standards. This also results in the

       Property lacking an accessible route from westernmost

       accessible parking space to the accessible entrances of the

       Facility, in violation of section 206.2.1 of the 2010 ADAAG

       standards.

(vii) The easternmost accessible parking space on the Property has a

       slope in excess of 1:48 (one to forty-eight), in violation of

       section 502.4 of the 2010 ADAAG standards.

(viii) The easternmost accessible parking space on the Property does

       not have an adjacent access aisle, in violation of section 502.3


                                   8
 Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 9 of 15




       of the 2010 ADAAG standards.

(ix)   The accessible route leading from the easternmost accessible

       parking space on the Property to the most proximate accessible

       ramp requires disabled individuals to traverse significant

       vertical rises, broken pavement and potholes, in violation of

       section 403.2 of the 2010 ADAAG standards.

(x)    Further, the above-described ramp is located before a standard

       parking space, and when a vehicle is parked in such parking

       space, the ramp is blocked, in violation of sections 403.5.1 and

       502.7 of the 2010 ADAAG standards. This also results in the

       Property lacking an accessible route from easternmost

       accessible parking space to the accessible entrances of the

       Facility, in violation of section 206.2.1 of the 2010 ADAAG

       standards.

(xi)   The ramp at the center of the Facility has an extreme slope

       exceeding 1:10 (one to ten), in violation of section 405.2 of the

       2010 ADAAG standards.

(xii) The door to the accessible entrance of the Facility lacks

       minimum permissible maneuvering clearance, in violation of


                                   9
 Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 10 of 15




        section 404.2.4 of the 2010 ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The interior of the Facility has a bar lacking any portion of

        which that has a maximum height of 34” (thirty-four inches)

        from the finished floor, in violation of section 902.3 of the 2010

        ADAAG standards.

(ii)    The Facility lacks restrooms signage that complies with

        sections 216.8 and 703 of the 2010 ADAAG standards.

(iii)   The door to the restrooms in the Facility requires an opening

        force in excess of 5 lbs. (five pounds), in violation of section

        404.2.9 of the 2010 ADAAG standards.

(iv)    The restrooms in the Facility have sinks that do not provide for

        adequate knee and toe clearance thereunder, in violation of

        section 606.2 of the 2010 ADAAG standards.

(v)     The soap dispensers in the restrooms in the Facility are located

        outside the prescribed vertical reach ranges set forth in section

        308.2.1 of the 2010 ADAAG standards.

(vi)    There is inadequate clear turning space in the accessible toilet

        stalls in the restrooms in the Facility, in violation of section


                                    10
 Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 11 of 15




       603.2.1 of the 2010 ADAAG standards.

(vii) The grab bars in the accessible toilet stalls in the restrooms in

       the Facility do not comply with section 604.5 of the 2010

       ADAAG standards. Specifically, the rear grab bars are too

       short.

(viii) The toilet paper dispensers in the restrooms in the Facility are

       positioned outside the permissible reach ranges set forth in

       section 604.7 of the 2010 ADAAG standards.

(ix)   The accessible toilet stall doors in the restrooms in the Facility

       are not self-closing, in violation of section 604.8.2.2 of the

       2010 ADAAG standards.

(x)    The height of the coat hooks located in the restroom stalls in the

       restrooms in the Facility are above 48” (forty-eight inches)

       from the finished floor, in violation of section 308.2.1 of the

       2010 ADAAG standards.

(xi)   The height of the urinals in the restroom in the Facility exceeds

       the maximum permissible height set forth in section 605.2 of

       the 2010 ADAAG standards.

(xii) The urinals in the restroom in the Facility lack adequate clear


                                   11
        Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 12 of 15




              floor space before them, in violation of 606.2 of the 2010

              ADAAG standards.

       31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle on the Property,

more difficult and extremely dangerous for Plaintiff to traverse the ramps servicing

the Property, more difficult for Plaintiff to enter and exit the Facility, and more

difficult for Plaintiff to utilize the restroom the Facility.

       32.    The Property has not been adequately maintained in operable working

condition for those features of facilities and equipment that are required to be

readily accessible to and usable by persons with disabilities in violation of section

28 C.F.R. § 36.211.

       33.    Upon information and good faith belief, Defendant fails to adhere to a

policy, practice and procedure to ensure that all facilities on the Property are

readily accessible to and usable by disabled individuals.

       34.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

       35.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property


                                            12
       Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 13 of 15




in violation of the ADA.

      36.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      38.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      39.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      40.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      41.   Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm


                                         13
       Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 14 of 15




unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      42.    Plaintiff’s requested relief serves the public interest.

      43.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      44.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      45.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;


                                          14
       Case 1:21-cv-01408-ELR Document 1 Filed 04/08/21 Page 15 of 15




      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: April 8, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




                                         15
